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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

 My Pillow, Inc.; Michael J. Lindell; Mike
 Lindell Products LLC; Lindell Media LLC;
 Lindell Technologies, LLC; Lindell
 Properties, LLC; Lindell Publishing, LLC;
 Lindell Services, LLC; Lindell Management,        Civ No.: 0:24-cv-04535-JMB-TNL
 LLC; Prior Lake 40 Acres, LLC; and
 Lindell-TV LLC,

               Plaintiffs,

 v.


 Lifetime Funding, LLC; FunderZgroup,
 LLC; Michael Kandkhorov; Michael Kand;
 Abe Kand; Tiffany Johnson; Sam
 Hernandez; Alan Hernandez; CapShot
 Financial; and John and Jane Does,


               Defendants.


                       DECLARATION OF RICHARD R. VOELBEL

       1.     I am over twenty-one years of age, competent to testify in a legal proceeding, and

give this Declaration of my own personal knowledge.

       2.     I am counsel in this action for Defendants Lifetime Funding, LLC (“Lifetime”),

FunderZgroup, LLC (“Funderzgroup”), Michael Kandkhorov, Michael Kandhorov (a/k/a Michael

Kand), and Abraham Kandhorov (a/k/a Abe Kand) (together, “Defendants”).

       3.     I offer this Declaration in support of Defendants’ motion to dismiss Plaintiffs’

Complaint.

       4.     A true and correct screenprint of the entity information page for Lifetime Funding

LLC from the New York Department of State’s website is attached hereto as Exhibit 1.
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       5.       A true and correct screenprint of the entity information page for Lifetime Funding

LLC from the Connecticut Secretary of State’s website is attached hereto as Exhibit 2.

       6.       A true and correct screenprint of the entity information page for Funderzgroup LLC

from the Florida Secretary of State’s website is attached hereto as Exhibit 3.

       7.       A true and correct screenprint of the entity information page for Funderzgroup LLC

from the Connecticut Secretary of State’s website is attached hereto as Exhibit 4.

       8.       A true and correct copy of the Complaint filed in the action entitled Lifetime

Funding v. My Pillow Inc., Supreme Court of the State of New York, County of Monroe, Index

No. E2024017948, is attached hereto as Exhibit 5.

       9.       A true and correct screenprint of the entity information page for My Pillow, Inc.

from the Minnesota Secretary of State’s website is attached hereto as Exhibit 6.

       10.      A true and correct copy of the decision in the action entitled Flash Funding, LLC v.

Horizons Connection Services, LLC, Docket No. HHDCV236166130S (Conn. Super. Ct. 2024),

is attached hereto as Exhibit 7.

       11.      A true and correct copy of the “Form Three agreement” in the action entitled Lateral

Recovery, LLC v. Cap. Merch. Servs., LLC, 632 F. Supp. 3d 402 (S.D.N.Y. 2022), is attached hereto

as Exhibit 8.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 23rd day of January, 2025.


                                                   __/s/ Richard R. Voelbel ________________
                                                   Richard R. Voelbel




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